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UNITED STATES BANKRUPTCY COURT
DISTRICT OF DELAWARE
IN RE: ) Case No. 01-1139({JKF)
) Chapter 11
W.R. GRACE, et al., )
) Bankruptcy Courtroom No. 2
) 824 Market Street
Debtors. ) Wilmington, Delaware 19801
)
)
)
)

September 23, 2002
10:12 A.M.

TRANSCRIPT OF OMNIBUS HEARING
BEFORE HONORABLE JUDITH K. FITZGERALD
UNITED STATES BANKRUPTCY JUDGE
APPEARANCES :

For Debtors: Reed Smith
By: JAMES J. RESTIVO, JR., ESO.
JAMES W. BENTZ, ESQ.
435 Sixth Avenue
Pittsburgh, Pennsylvania 15219

Kirkland & Ellis

By: JANET S&S. BAER, ESQ.
200 East Randoiph Drive
Chicago, Illinois 60601

Pachulski Stang Ziehl Young & Jones
By: SCOTTA McFARLAND, ESO.

919 North Market Street, 16th Floor
Post Office Box 8705

Wilmington, Delaware 19899-8705

For Asbestos P.I. Campbell & Levine

Claimants: By: MARK HURFORD, ESQ.
1201 Market Street, 15th Floor
Wilmington, Delaware 19801

Audio Operator: Sherry Scaruzzi

Proceedings recorded by electronic sound recording,
transcript produced by transcription service.

TRANSCRIPTS PLUS

435 Riverview Circle, New Hope, Pennsylvania 18938
e-mail courttranscripis@aol.com

215-862-1115 (FAX) 215-862-6639
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Appearances:
(Continued)

For the Equity
Committee:

For Asbestos P.D.
Claimants:

For Libby Claimants:

For Maryland Casualty:

Por 4.A.If. claimants:

Klett Rooney Lieber & Schorling
By: JEFF WAXMAN, ESQ.

The Brandywine Building

1000 West Street, Suite 1410
Wilmington, Delaware 19801

Ferry Joseph and Pearce, PA

By: THEODORE TACCONELLI, ESQ.
824 North Market Street, No. 904
Wilmington, Delaware 19899

Bilzin Sumberg Dunn Baena Price
and Axelrod LLP,
By: SCOTT BAENA, ESO.
JAY SAKALO, ESQ.
First Union Financial Center
200 South Biscayne Boulevard
Suite 2500
Miami, Florida 33131
(via telephone)

Klehr Harrison Harvey Branzburg
& Ellers, LLP

By: STEVEN KORTANEK, ESQ.

919 Market Street, Suite 1000

Wilmington, Delaware 19801

Connolly Bove Lodge & Hutz, LLP
By: JEFFREY WISLER, ESQ.

1220 Market Street, 10th Floor
Post Office Box 2207
Wilmington, Delaware 19899

Elzufon Austin Reardon

Tarlov & Mondeil

By: WILLIAM SULLIVAN, ESQ.

300 Delaware Avenue, Suite 1700
P.O. Box 1630

Wilmington, Delaware 19899-1630

Richardson, Patrick, Westbrook
& Brickman, LLC
By: EDWARD WESTBROOK, ESQ.
174 East Bay Street
Charleston, South Carolina 29402

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Appearances:
{continued)
For T. Kane: Fox Rothschild O’Brien & Frankel
By: JASON CORNELL, ESQ.
Mellon Bank Center,
919 North Market Street, Suite 1400
14th Floor
Conroy,
Simberg, Ganon, Krevans
and Abel, P.A.
By: STUART COHEN, ESQ.
For Unsecured Stroock and Stroock and Lavan
Creditors’ Committee: By: ARLENE G. KRIEGER, ESQ.
180 Maiden Lane
New York, New York 10038-4982
For Ace: White and Williams
By: LINDA M, CARMICHAEL, ESO.
824 North Market Street, Suite 902
P.O. Box 709
Wilmington, Delaware 19899-0709
For CNA: Ford Marrin Esposito Whitmyer & Gleser

Wall Street Plaza
New York, New York 10005-1875

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*Continued to October 28, 2002, 10 A.M.
*xContinued to November 25, 2002, 10 A.M.

THE COURT: This is the matter of W.R. Grace,
Bankruptcy Number 01-1139. There is an agenda set for this
afternoon. Will anyone who speaks when you speak please enter
your appearances. Good morning.

MS. BAER: Good morning, Your Honor. Janet Baer on
behalf of W.R. Grace.

Your Honor, I believe the first 45 items on the
agenda have to do with fee applications. —

THE COURT: Yes.

MS. BAER: I have spoken with Mr. Smith. He is not
on the phone but will be -- is available on the telephone if
you'd like to speak with him or have him participate. He did
not feel it was necessary.

What he would like to do is have a little time on
these first three interim periods. He is issuing reports now.
The reports are being responded to by counsel. The thought
was that a hearing be set for later, perhaps near or if not at

the November omnibus hearing. Your Honor, in that respect,
obviously all counsel are concerned they’d like to get the
remaining 20 percent of fees not paid by the end of the year.
We’ve been waiting for almost a year and a half for some of the

fees. So, I would say the first opportunity we could get to

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is hazardous. And so it is true that we have objected to some
of the requests on the grounds of relevance and overbreadth
because it hasn’t been limited to the finished product.

Everyone agrees, Your Honor, at least in the Barbanti
preliminary injunction hearing, their experts and our experts,
this material, the finished product, contains by weight one
one-hundred to one one-thousandth of one percent of asbestos,
if it’s in there at all. And so to dig out documents and
produce documents relating to what happened when you mine the
material clearly is beyond the scope of what this Court is
trying to determine what does science tell us about the Z.A.I1.
in the attic.

And, therefore, we have not attempted to give
environmental documents, Libby disease documents, mining
documents, et cetera.

We do agree and have agreed with Mr. Westbrook in his
comment at the August 26th hearing, he does need testing
related to Z.A.I. We've agreed to give him testing related to
Z4.A.I. and there are a lot of documents related to that. And
he’s going to get them.

They’ve been in our repository now for two weeks, Mr.
Turkewitz plus three individuals, although Mr. Turkewitz left
after a couple of days and the individuals are there. We
pointed them to 61 boxes of what traditionally and historically

has been called notice documents in the non-Z.A.I. litigation.
